        Case 1:17-cv-05885-GHW Document 125 Filed 08/04/20 Page 1 of 2




                                                              40 Broad Street, 7th Floor
                                                              New York, New York 10004
                                                              Telephone: 212.943.9080
                                                              www.vandallp.com

                                                              Kara S. Miller
August 4, 2020                                                kmiller@vandallp.com

VIA ECF
The Honorable Gregory H. Woods
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007-1312

       Re:     Chia et al v. 520 Asian Restaurant Corp. et al, Dkt No. 17-cv-05885-GHW

Dear Judge Woods:

         This firm, along with Take Root Justice, represents the Plaintiffs in the above-referenced
matter. This letter is submitted in response to this Court’s Order on today’s date with respect to
the trial damage calculations.

        Plaintiffs apologize that it was not clear how the damages were being calculated. Not every
work week had both a timesheet and a payroll record. In weeks where there were no timesheets, if
the formula only accounted for hours reported on timesheets, that workweek would reflect that 0
hours were worked and award $0 damages. However, in reality, hours were worked that week and
damages should be awarded based on this Court’s liability findings. Further, in work weeks where
there was both a time sheet and a payroll record, and the two did not match, the timesheet reflected
the higher number of hours worked in 99.5% of all work weeks. Thus, the original formula was
kept as it afforded damages in accordance with this Court’s Order, but also allowed for damages
to be calculated in weeks where there were no timesheets. Plaintiffs had identified a handful of
exceptions where the payroll records reflected more hours than the timesheets and had intended to
manually edit these few weeks and apologize for this oversight.

       To make it easier for the Court to see how the damages were calculated, rather than using
the one formula, Plaintiffs changed the formula for every individual cell to reflect whether it was
drawing information from the timesheets (in weeks where there were only timesheets or in weeks
where there were both timesheets and payroll records) or drawing information from the payroll
records (in weeks where there were no timesheets). Plaintiffs also further revised the heading in
Column T to reflect this.
        Case 1:17-cv-05885-GHW Document 125 Filed 08/04/20 Page 2 of 2




         Plaintiffs are emailing the updated native spreadsheet to the Court. With the changes, the
amounts owed for unpaid minimum and overtime wages for all Plaintiffs collectively are reduced
in the first period of liability from $368,195.09 to $367,519.59 (a reduction of $675.41) and in the
second period of liability from $17,619.58 to $17,610.58 (a reduction of $9.00). A revised
proposed judgment is also being emailed.


                                                             Respectfully submitted,




                                                             Kara Miller, Esq.
